UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

JOHN DOE #1-#14 and JANE DOE #1-#2,
Plaintiffs,
VS.

LLOYD AUSTIN, II, in his official
capacity as Secretary of Defense, U.S.
Department of Defense

XAVIER BECERRA, in his official
capacity as Secretary of the U.S.
Department of Health and Human
Services,

CIVIL ACTION NO.

FRANK KENDALL, in his official 3:21-cv-01211-TKW-HTC

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capacity as Secretary of the Air Force, )
Department of the Air Force, ) (ORAL ARGUMENT

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CARLOS DEL TORO, in his official REQUESTED)

capacity as Secretary of the Navy,
Department of the Navy, and

JANET WOODCOCK, in her official
capacity as Acting Commissioner of the
U.S. Food and Drug Administration, and

CHRISTINE WORMUTH, in her official
capacity as Secretary of the Army,
Department of the Army,

Defendants.

PLAINTIFFS’ BRIEF INSUPPORT OF MOTION FOR
ADMINISTRATIVE STAY, DECLARATORY ORDER, TEMPORARY
RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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INTRODUCTION

Pursuant to Rule 65(a) of the Federal Rules of Civil Procedure, Plaintiffs John
Doe #1 to #14 and Jane Doe #1 and #2, file this action against Defendants seeking
an Administrative Stay of—and Temporary Restraining Order (“TRO”) and
Preliminary Injunction enjoining—the Department of Defense’s (“DOD”) August
24, 2021 COVID-19 vaccine mandate (“DOD Mandate’), see ECF No. 1-2, and the
implementation thereof by each of the Armed Services. See ECF No. 1-6 to 1-9
(“Armed Services Guidance”). Defendants are sued in their official capacities for
injunctive and declaratory relief.

The DOD Mandate should be considered as part of a larger effort by federal
administrative agencies and the Executive Branch to impose unconstitutional
vaccination mandates for essentially all Americans. See ECF No. 1, Compl., Section
II (“Federal Vaccine Mandates”). Because federal administrative vaccine mandates
bypass Congress, the States, and the constitutional limits on federal executive
authority, these mandates implicate not only Plaintiffs’ individual rights, but also the
separation of powers and State sovereignty in our federal system.

In the instant motion, Plaintiffs’ request that this Court address the larger

 

' Plaintiffs are a group of active-duty service members from each branch of the
military, i.e., United States Air Force, Army, Marine Corps, and Navy (collectively,
“Armed Services”). See ECF No. 1-18 (Plaintiffs’ Declarations).

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questions raised by federal vaccine mandates, in particular: whether federal
administrative agencies, acting without any clear grant of congressional authority,
can unilaterally mandate medical treatment for essentially all U.S. citizens; whether
federal agencies can deprive citizens of their freedom, livelihoods, and fundamental
rights for refusal; whether the federal government can assert emergency power to
displace the States’ inherent “police power;” and whether federal agencies may
make 100 million or more unvaccinated Americans second-class citizens, unable to
serve their country, work, attend school, or participate in the Nation’s economic and
cultural life. Plaintiffs’ constitutional claims thus raise distinct issues from
Plaintiffs’ statutory claims.’

Plaintiffs’ central constitutional objection to the DOD Mandate, and other
federal mandates, is that they violate Plaintiffs’ substantive due process right to
refuse unwanted, unnecessary, and unproven experimental medical treatment.
Courts have frequently—and in Plaintiffs’ view, incorrectly—analyzed COVID-
related restrictions using the “rational basis” standard of review based on the

Supreme Court’s 1905 decision in Jacobson v. Massachusetts, 197 U.S. 11, 25 S.Ct.

 

* On October 6, 2021, Plaintiffs filed an emergency motion seeking injunctive and
declaratory relief for Defendants’ violations of federal laws and regulations. See
ECF No. 3. The instant motion is more narrowly focused on the constitutional issues
raised by the DOD Mandate, and the requested relief is limited to the DOD and the
Armed Services that would not necessarily apply to the Food and Drug
Administration (“FDA”) or the Department of Health and Human Services (“HHS”).

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358, 49 L.Ed. 643 (1905), a case decided before the development of substantive due
process and bodily integrity and privacy doctrines. There are several material
differences between the smallpox vaccine mandate at issue in Jacobson and the
DOD Mandate for COVID-19 with respect to the legal basis (or lack thereof) for the
enactment of the mandates (as well as the diseases, vaccine safety and efficacy, and
the consequences for non-compliance). The Supreme Court has recently rejected
Jacobson’s “rational basis review” standard in favor of “strict scrutiny” analysis
where, as here, COVID-19 restrictions impinge on fundamental rights. See Roman
Catholic Diocese of Brooklyn v. Cuomo, --- U.S. ---, 141 S.Ct. 63, 67, 208 L.Ed.2d
206 (2020) (“Cuomo”). Plaintiffs’ urge this Court to follow Cuomo and apply strict
scrutiny to strike down the DOD Mandate, rather than Jacobson’s rational basis
review. See supra Section II.C.3

The DOD Mandate also imposes unconstitutional conditions by forcing
Plaintiffs to choose between an involuntary injection or suffering the loss of
employment, liberty, benefits, reputation and fundamental rights. Further, if the
DOD and other federal vaccine mandates are upheld, unvaccinated Plaintiffs’ will
likely be unable to find alternative employment, and will likely be deprived of an
ever greater range of constitutionally protected freedoms and privileges. In addition,
the DOD Mandate and other federal mandates violate equal protection insofar as

these mandates: (1) would collectively apply to all U.S. citizens and lawful residents,

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while systematically excluding those entering or remaining in the country illegally;
and (2) single out individuals for differential and less favorable treatment based on
their medical history, medical conditions, or disabilities.

Plaintiffs therefore urge this court to: (1) find that the DOD Mandate infringes
upon Plaintiffs’ constitutional right to refuse unwanted, unnecessary, and unproven
medical treatment, imposes unconstitutional conditions and violates equal
protection; (2) find that neither the DOD nor any other federal agency has the
authority to issue a vaccine mandate; (3) stay the effective date of the DOD Mandate
and enjoin any implementation of the DOD Mandate by the Armed Services, or any
disciplinary action against Plaintiffs’ for non-compliance; and (4) grant any other
declaratory or injunctive relief as described in the Complaint and Motion or deemed
necessary or appropriate by this Court.

I. STATEMENT OF FACTS

The relevant facts are fully set forth in the Complaint. See ECF No. 1
(“Statement of Facts”), Sections I-VIH. Given the complexity of the argument and
this Court’s page limits, the relevant facts shall be referenced as necessary in

Section IIT of this Memorandum.

tT. ARGUMENT
A. Jurisdiction and Justiciability

This Court has jurisdiction because this case arises under federal law,
namely: the Fifth, Ninth, and Fourteenth Amendments of the United States
Constitution, U.S. CONST. AMENDS. V, IX, and XIV; 42 U.S.C § 1983; and the
Administrative Procedures Act (“APA”), 5 U.S.C. § 551 et seq. Accordingly, this
court has federal question jurisdiction. See 28 U.S.C. §§ 1331, 1343(a)(3)-(4). This
court also has jurisdiction to provide the declaratory and equitable relief requested
herein. See 28 U.S.C. §§ 2201-2202.

Plaintiffs’ claims against Defendants’ SECDEF and the DOD are justiciable.
In the Eleventh Circuit, claims by service members against the armed services are
normally non-justiciable, except for “facial challenges to military regulations.”
Speigner v. Alexander, 248 F.3d 1292, 1296 (11th Cir. 2001). Plaintiffs’ claims are
facial challenges to the DOD Mandate, a military regulation. In light of the issued
and announced federal vaccine mandates that will apply to nearly all public and
private employees, the DOD Mandate should be considered more appropriately a
generally applicable employment regulation.

B. ‘Plaintiffs’ Standing

A plaintiff establishes standing by demonstrating (1) a “concrete and
particularized” injury that is “actual or imminent”; (2) “fairly traceable to the
challenged conduct”; and (3) “likely to be redressed by a favorable judicial
decision.” Banks v. HHS., --- Fed.Appx. ---, 2021 WL 3138562 (11th Cir. July 26,
2021) (quoting Spokeo, Inc. v. Robbins, 578 U.S. 856, 136 S. Ct. 1540, 1547, 194

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L.Ed.2d 635 (2016)).
Each of these requirements are easily met. Plaintiffs will suffer an “actual

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and imminent” “concrete and particularized” injury” due to the unlawful and
unconstitutional DOD Mandate and the Armed Service Guidance. Courts have
routinely granted standing to service members challenging a new vaccine mandate
applicable to them. See generally John Doe No. I v. Rumsfeld, 297 F. Supp. 2d
119 (D.D.C. 2003) and John Doe No. 1 v Rumsfeld, 341 F. Supp. 2d 1 (D.D.C.
2004) (“Rumsfeld IP’). Plaintiffs also have standing as the subject of the challenged
agency action. Teva, 514 Supp.3d at 91.

The latter two elements, traceability and redressability, normally “overlap as
two sides of the causation coin.” Dynalantic Corp. v. Dep’t of Def., 115 F.3d 1012,
1017 (D.C. Cir. 1997). Where, as here, the plaintiff or “petitioner is the object of
the challenged agency action, there is usually little doubt of causation.” Teva
Pharmaceuticals USA, Inc. v. FDA, 514 F.Supp.3d 66, 91 (D.D.C. 2020) (“Teva’’)
(citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 561-62, 112 S. Ct. 1230, 119
L.Ed.2d 351 (1992) (“Lujan’”)). Plaintiffs’ injury is directly traceable to the actions
of the DOD in adopting the DOD Mandate, and to the Armed Services Guidance.

Their injury can be redressed by this Court’s grant of the stay and the declaratory

and injunctive relief requested in this Motion.
C. Legal Standard
1. Preliminary Injunction and Temporary Restraining Order

A district court may grant a preliminary injunction, or a temporary
restraining order, if the moving party shows that it has: (1) a substantial likelihood
of success on the merits; (2) irreparable injury; (3) the balance of equities favors
the moving party; and (4) the injunction is in the publicinterest. See Siegel v.
LePore, 234 F.3d 1163, 1176 (11th Cir. 2000)).

2. Administrative Stay

The Administrative Procedures Act allows a court to:
[I]ssue all necessary and appropriate process to postpone the effective

date of agency action or to preserve status or rights pending conclusion
of the review proceedings.

5 U.S.C. § 705 (emphasis added). The standards for administrative stays are the
same as the above for injunctive relief, with the important distinction that
preliminary injunctions act on the person, while stays act on the proceeding. See,
e.g., Nken v. Holder, 556 U.S. 418, 432-33 129 S. Ct. 1749, 173 L.Ed.2d 550 (2009)
(“Nken”). Here, the proceedings that Plaintiffs seek to stay are the proceedings
resulting in the issuance of the DOD Mandate and the Armed Services Guidance.
3. For Plaintiffs’ Constitutional Claims the Court Should Apply

Strict Scrutiny, rather than Jacobson v. Massachusetts
Rational Basis Review.

Courts have frequently, and incorrectly, analyzed COVID-related

restrictions using the “rational basis” standard of review based on the Supreme
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Court’s 1905 decision in Jacobson v. Massachusetts, a case decided before the
development of substantive due process and bodily integrity and privacy doctrines.
There are several material differences between the smallpox vaccine mandate at
issue in Jacobson and the DOD Mandate for COVID-19 with respect to the legal
basis (or lack thereof) for the enactment of the mandates and with respect to the
diseases, vaccine safety and efficacy, and the consequences for non-compliance.

The Supreme Court has recently rejected Jacobson’s “rational basis review”
standard in favor of “strict scrutiny” analysis where, as here, COVID-19 restrictions
impinge on fundamental rights. See Cuomo, 141 S.Ct. at 67.2. This Court should
apply Cuomo’s strict scrutiny, rather than Jacobson’s rational basis review.

a) State Legislation vs. Federal Administrative Action

The vaccine mandate at issue in Jacobson was enacted pursuant to State

 

3 In Cuomo, the Supreme Court emphasized that “[e]ven in a pandemic, the

Constitution cannot be put away and forgotten,” Cuomo, 141 S.Ct. at 68, and
abandoned its reliance on Jacobson in earlier cases such as South Bay Pentecostal
Church v. Newsom, 590 U.S. ---, 140 S.Ct. 1613, 207 L.Ed.2d 154 (2020). See
Cuomo, 141 S.Ct. at 70 (“But Jacobson hardly supports cutting the Constitution
loose during a pandemic.”) (Gorsuch, J., concurring). Justice Gorsuch’s
concurrence suggests that the mandatory vaccine regime at issue in Jacobson —
where the plaintiff had to choose between a highly safe and effective smallpox
vaccine or a $5 fine, with opt-outs for objectors — might have survived modern strict
scrutiny analysis. Gorsuch’s speculation is merely dicta, however, as there was no
vaccine mandate before the Court in Cuomo; in any case, there are material
differences between the mandate in Jacobson and the DOD Mandate (discussed
below) that render Jacobson inapposite.
legislation enacted under its “inherent police power.” See Klaassen v. Trustees of
Ind. Univ., --- F.Supp.3d. ---, 2021 WL 3073926, at *17 (N.D. Ind. July 18, 2021),
aff'd, 7 F Ath 592 (7th Cir. 2021) (citing Jacobsen, 197 U.S. at 24-25). Here, by
contrast, the DOD Mandate is simply an (unlawful) administrative order that is
premised on a separate and unlawful administrative action by the FDA. Congress
has not authorized the DOD or any other federal agency to impose a vaccine
mandate.

b) Material Differences Between Diseases, Vaccines and
Risks

‘Smallpox has been a scourge against humanity for at least the past 1500
years,” and has “inarguably shaped the course of human history,’ killing at least
300 million people in the Twentieth Century alone. Klaassen, 2021 WL 3073926,
at *17. The mortality rate for smallpox is “about 30%,” id., compared to less than
one percent (1%) for COVID, and less than 0.02% for military service members

like Plaintiffs. See ECF No. 1, Compl., § 43.°

 

+ See National Center for Biotechnology Information, Smallpox Vaccine: The Good,
the Bad, and the Ugly at 87, Clin. Med. Res. Apr. 2003; 1(2):87-92 (2003), available
at: https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1069029/ (last visited Oct. 4,
2021) (“Smallpox Vaccine’).

> Smallpox had an IFR of 30% vs. 0.02% (or 600 times greater) for COVID for DOD

service members (or 0.05% for 20-49 age group). So, for example, out of one million

people there would be 300,000 smallpox deaths compared to 500 COVID-19 deaths

in the 20-49 age group (i.e., 600 times greater death rate for smallpox than for

COVID-19). The IFR for anthrax, the only recent adult disease that that has been
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With respect to the vaccines, one key difference is that the smallpox vaccine
worked, and it was known to have worked safely for over a century prior to the
Jacobson mandate. See Klaassen, 2021 WL 3073926, at *17 (smallpox vaccine in
use since 1808). It worked so well that smallpox was eradicated in the United States
in first half of the Twentieth Century, and was eradicated worldwide by 1980 when
the U.S. and UN decided to act. No one suggests that the mandated COVID-19
vaccines could eliminate COVID-19; instead, the scientific consensus is that
COVID-19 will mutate like the flu and that it is “here to the stay with us.”’

In any case, until less than a month ago, all COVID-19 vaccines were
officially designated as “experimental” drugs, and Comirnaty’s long-term efficacy

and risks are still unknown and “not proven.” Klaassen, 2021 WL 3073926, at *12.

 

the subject of a vaccine mandate, ranged from 20% up to 90%. See Rempfer v.
Eschenbach, 535 F.Supp.2d 99, 101 (D.D.C. 2008).

6 CDC, Smallpox, available at: https://www.cdc.gov/smallpox/index.html (last
visited Sept. 18, 2021). The smallpox vaccine was a “traditional” vaccine in that the
vaccine provided vaccinated persons with long-term immunity that prevented both
infection and transmission to others. According to the CDC, the smallpox vaccine
prevented infection in 95% of those vaccinated for a period of three to five years.
See CDC, Smallpox Vaccine Basics, available at:

https://www.cdc.gov/smallpox/vaccine-basics/index.html (last visited Sept. 18,
2021).

’ See, e.g., Rich Mendez, WHO Says Covid Will Mutate Like the Flu and Is Likely
Here to Stay, CNBC (Sept. 7, 2021), available at:
https://www.cnbe.com/2021/09/07/who-says-covid-is-here-to-stay-as-hopes-for-
eradicating-the-virus-diminish.html (last visited Sept. 19, 2021).

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The FDA’s rushed, politicized, and improper approval, based on data for a minimal
period (or non-existent data for populations like Natural Immunity Plaintiffs and
WOCBP Plaintiffs), does not change that. The FDA reaffirmed the Pfizer-
BioNTech vaccine’s experimental status when it reissued the EUA on the same day,
and for the same indication, as it licensed Comirnaty. See ECF No. 1, Compl., { 74.
The recent FDA debate over whether to authorize a third “booster” shot, see ECF
No. 1, {J 89-90, and current Israeli proposals to administer a fourth booster shot,
mean that the efficacy and even the dosage for Comirnaty are still unknown.

What is known, however, is that, unlike the smallpox vaccine, the COVID-
19 vaccines: (1) do not provide “immunity,” even in the short-term; (2) have rapidly
decreasing efficacy, e.g., decreasing to as low as 42% after six months (with a
median of only 65%), see ECF No. 1-15, Oliver FDA Presentation, Slide 15; and
(3) do not prevent retransmission to the vaccinated or unvaccinated alike.

Regarding safety, the smallpox vaccine was discovered in 1798, and thus had
been in use for over a Century when Jacobson was decided. Its long-term risks and
side effects were well understood and minimal, with roughly one death per one
million injected with Smallpox vaccine. See supra Smallpox Vaccine, note 4, at
89. For the COVID-19 vaccines, by contrast, the mortality rate, based on

substantial under- and self-reported VAERS data, is nearly two orders of magnitude

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greater (roughly one per 30,000 vaccinated persons).®

¢) The Changing Meaning of “Vaccine” and Implications
for Public Health Justification for Vaccine Mandate

These differences between the smallpox vaccine and the COVID-19
vaccines have important implications for public health and evaluating the costs and
benefits of a vaccine mandate. The smallpox vaccine provided long-term immunity
and prevented retransmission. Accordingly, it was an appropriate and effective
means of preventing outbreaks or pandemics, and thereby protecting public health
and reducing risk to others. The COVID-19 “vaccine” at most provides protection,
rather than immunity, from COVID-19, and it does not prevent re-transmission. It
is presumably for this reason that the CDC has repeatedly changed the definitions
of vaccine and vaccination repeatedly from “prevent” (pre-2015), “produce
immunity” (2015-August 2021) to “produce protection” (September 2021).
Compare the “evolution” of the CDC’s definitions of vaccines and vaccination over
the past years and even weeks:

July 10, 2012

Vaccination: Injection of a killed or weakened infectious organism in
order to prevent the disease.

 

® The Comirnaty VAERS data covers only a few months from a limited, self-selected
and statistically invalid sample, where 93% of sample was “unblinded” after the first
two months. The smallpox vaccine mortality rate of one in one million compared to
about 6,000 deaths after 180,000,000 vaccinations (or approximately 0.03% or 300
per million), or 300 times greater.

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Vaccine: A product that produces immunity therefore protecting the
body from the disease.’

August 26, 2021
Vaccine: A product that stimulates a person’s immune system to
produce immunity to a specific disease, protecting the person from

that disease.

Vaccination: The act of introducing a vaccine into the body to produce
immunity to a specific disease. !°

September 18, 2021

Vaccine: A preparation that is used to stimulate the body’s immune
response against diseases.

Vaccination: The act of introducing a vaccine into the body to produce
protection from a specific disease."

Based on the limited efficacy of the COVID-19 vaccines and their inability to
prevent re-transmission, the CDC abandoned any pretense that the COVID-19
vaccines can prevent disease or its spread, and moved the goalposts to merely

providing “protection.”

 

? CDC, Vaccines and Immunizations: Definition of Terms (July 10, 2021), available
at:
http://web.archive.org/web/20120710132002/https://www.cdc.gov/vaccines/vac-
gen/imz-basics.htm (last visited Sept. 18, 2021) (emphasis added).

10 CDC, Vaccines and Immunizations: Definition of Terms (Aug. 26, 2021),
available at:
http://web.archive.org/web/20210826113846/https://www.cdc.gov/vaccines/vac-
gen/imz-basics.htm (last visited Sept. 18, 2021) (emphasis added).

"CDC, Vaccines and Immunizations: Definition of Terms, available at:

https://www.cdc.gov/vaccines/vac-gen/imz-basics.htm (last visited Sept. 18, 2021).
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d) Consequences for Non-Compliance

Unlike the plaintiff in Jacobson, who was faced with the choice of smallpox
vaccination or payment of a $5 fine (about $140 today), Cuomo, 141 S.Ct. at 70,
Plaintiffs face termination, separation from the Armed Services, and disciplinary
action, up to and including a dishonorable discharge and prison time, as well as the
loss of fundamental constitutional rights. See generally, ECF No. 1, Compl.,
Section HI.D, {J 56-57 (“Consequences for Non-Compliance”).

D. Plaintiff Has a Substantial Likelihood of Success on the Merits

1. The DOD Mandate Violates Plaintiffs’ Substantive Due
Process Rights to Bodily Integrity and to Refuse Unwanted,
Unnecessary, and Unproven Experimental Medical
Treatment.

The Constitution protects a person’sright to “refus[e] unwanted medical
care.” See, e.g., Cruzan v. Dir., Mo. Dep’t of Public Health, 497 U.S. 261, 278
(1990) (“Cruzan”).'* This right is “so rooted in our history, tradition, and practice

as to require special protection under the Fourteenth Amendment.” Washington v.

 

The common law baseline is also a key touchstone out of which grew the relevant
constitutional law. See, Cruzan, 497 U.S. at 278 (“At common law, even the
touching of one person by another without consent and without legal justification
was a battery.”). See also W. Keeton, D. Dobbs, R. Keeton, & D. Owen, PROSSER
AND KEETON ON LAW OF TORTS 8 9, pp. 39-42 (Sth ed. 1984).); Schloendorff
v. Society of N.Y. Hosp., 211 N.Y. 125, 129-130, 105 N.E. 92, 93 (1914) (Cardozo,
J.) “Every human being of adult years and sound mind has a right to determine what
shall be done with his own body; and a surgeon who performs an operation without
his patient’s consent commits an assault, for which he is liable in damages.”).

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Glucksberg, 521 U.S. 702, 722 n.17, 117 S. Ct. 2258, 138 L.Ed.2d 772 (1997)
(“Glucksberg’). As such, the right to bodily integrity and to refuse unwanted
medical treatment is a central plank of the Supreme Court’s substantive due process
doctrine."°

The Supreme Court has, however, cautioned lower courts to “exercise the
utmost care” in “extending constitutional protection to an asserted right or liberty
interest.” Glucksberg, 521 U.S. at 720. The Supreme Court’s “established method
of substantive-due-process analysis” has “two primary features:”

First, we have regularly observed that the Due Process Clause specially

protects those fundamental rights and liberties which are, objectively,

deeply rooted in this Nation's history and tradition and implicit in the

concept of ordered liberty, such that neither liberty nor justice would

exist if they were sacrificed. Second, we have required in substantive-

due-process cases a careful description of the asserted fundamental
liberty interest.

Id. at 720-721 (emphasis added). The discussion above demonstrates that the right

 

'3 As the Supreme Court has noted, “[t]he protections of substantive due process
have for the most part been accorded to matters relating to marriage, family,
procreation, and the right to bodily integrity.” Albright v. Oliver, 510 U.S. 266, 272,
114 S.Ct. 807, 812, 127 L.Ed.2d 114 (1994). The right to bodily integrity has long
been recognized. See Union Pac. Ry. Co. v. Botsford, 141 U.S. 250, 251, 11 S.Ct.
1000, 1001, 35 L.Ed. 734 (1891) (holding that “[n]o right is held more sacred, or is
more carefully guarded by the common law, than the right of every individual to the
possession and control of his own person, free from all restraint or interference of
others, unless by clear and unquestionable authority of law”); Schmerber v.
California, 384 U.S. 757, 772, 86 S.Ct. 1826, 1836, 16 L.Ed.2d 908 (1966) (stating
that “[t]he integrity of an individual's person is a cherished value of our society’).

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to bodily integrity is as deeply rooted in our traditions and in the common law as
any.

But recent decisions by lower courts have carelessly and expansively
described the right at issue as a right to refuse vaccines, then relied on Jacobson
rational basis review to deny that there is any right against involuntary vaccination.
See, e.g., Klaassen, 2021 WL 3073926, at *24 (citing Jacobson, 197 U.S. at 30-31
and other cases) (“the court declines the students’ invitation to extend substantive
due process” to grant a “right to refuse a vaccination’).

Plaintiffs here do not assert a generic right to refuse a vaccination. Instead,
they assert a right to refuse mandatory medical treatment that: (1) is still
experimental and whose long-term safety and efficacy is “not proven,” Klaassen,
2021 WL 3073926, at *17, as reaffirmed by the FDA’s reissuance of the EUA for
the same indication as the licensed vaccine; (2) is unnecessary, based on long-
standing scientific evidence of natural immunity from previous infections; and
(3) has not been shown to have any therapeutic effect, and for which there is no
data for “special populations” that include the Plaintiffs with natural immunity,
women of child bearing potential or with other medical conditions or medical
history that may limit vaccine efficacy or decrease safety. See ECF No. 1, Compl.,
Section V.D.1, 44 79-80.

Plaintiff's substantive due process claims should instead be viewed in light

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of the long line of cases that recognize a fundamental right against participation in
DOD medical experiments that was involuntary due to deception or coercion.”
The DOD Mandate is yet another instance in a long line where the Government has
abused unwilling and/or unwitting soldiers for medical experimentation.

In any case, this vaccine was deemed experimental until less than a month
ago, and it still is based on the FDA’s EUA reissuance. The vaccine uses an entirely
novel mRNA technology and delivery system. The FDA’s rushed, politicized, and
unlawful approval process does not change this conclusion, and in fact reinforces
it, as does the recent debate over booster shots, which demonstrates that there is no
scientific consensus on Comirnaty’s efficacy, or even the proper dosage. Plaintiffs
further submit that informed consent cannot exist here, because data regarding the
long-term efficacy, safety and unanticipated side effects are simply not available.

Further, the FDA has intentionally chosen to approve the vaccine for
individuals like Natural Immunity Plaintiffs and WOCBP Plaintiffs, despite the

complete absence of any clinical trial data for this group, and in the face of

 

M4 See, e.g., Heinrich v. Sweet, 62 F.Supp.2d. 282 (D.Mass.1999) (“Heinrich”); Stadt
v. Univ. of Rochester, 921 F.Supp. 1023 (W.D.N.Y.1996) (“Stadt”); In re Cincinnati
Radiation Litig., 874 F.Supp. 796 (S.D.Ohio 1995) (“Cincinatti”); United States v.
Stanley, 483 U.S. 669, 107 S.Ct. 3054, 97 L.Ed.2d 550 (1987). These decisions
addressed claims for damages that were dismissed based on the doctrine announced
in Feres v. United States, 340 U.S. 135, 71 S.Ct. 153, 95 L.Ed. 152 (1950) that
enlisted personnel may not sue the United States government for injuries sustained
incidental to military service.

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numerous studies indicating that there is likely little benefit and potential harm to
this group. As such, the DOD Mandate is closer to the Heinrich, Stadt, and
Cincinnati cases that involved medical experiments whose therapeutic value was
unknown, see e.g., Amend v. Bioport, Inc., 322 F.Supp.2d 848, 871 (W.D. Mich.
2004) (discussing substantive due process rights against involuntary participation
in medical experiments), than the smallpox vaccine in Jacobson that was known to
be safe and to worked so well that it eradicated smallpox worldwide.

Plaintiffs’ claims regarding the DOD Mandate’s violation of substantive due
process rights should be analyzed under the Cuomo strict scrutiny standard, rather
than the Jacobson rational basis standard of review. Coercing service members to
receive a vaccine—that regardless of the FDA’s decision should still be considered
experimental and whose long-term safety and efficacy are unknown—for a virus
that presents a near-zero riskof illness or death (less than 0.02%) to them. The
“public health” rationale is also unavailing for individuals with natural immunity
as they are exceedingly unlikely to pass on to others. And coercing service
members to do so when a vaccine could also cause harm to a recipient with natural
immunity adds injury to constitutional insult.

Nor can Defendants show that the DOD Mandate is narrowly tailored to a
compelling governmental interest. Any benefit that the DOD may gain in

promoting immunity among service members does not extend to vaccinating those

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individuals who already have immunity from the virus.

2. DOD Vaccine Mandate Imposes Unconstitutional
Conditions.

The DOD Vaccine Mandate imposes unconstitutional conditions on Plaintiffs
by withholding of benefits, terminating employment/separation from service, and
threatening other disciplinary actions, up to and including dishonorable discharge,
for non-compliance. Further, a dishonorable discharge will necessarily result in loss
of the right to bear arms under the Second Amendment of the United States
Constitution, loss of a property interest in current employment and veterans and
other government benefits to which they would otherwise be entitled, and loss of
liberty interest due to loss of future employment opportunities. See, e.g., Koontz v.
St. Johns River Water Mgmt. Dist., 570 U.S. 595 (2013) (“[U]nconstitutional
conditions doctrine forbids burdening the Constitution’s enumerated rights by
coercively withholding benefits from those who exercise them”).

The DOD Mandate and other federal vaccine mandates threaten to deprive
Plaintiffs of their freedom, livelihoods, and fundamental rights, unless they follow
an unlawful and unconstitutional order to take an experimental vaccine. Ifthis action
is not struck down, this Court would effectively grant federal agencies the authority
to make 100 million or more unvaccinated Americans second-class citizens, unable

to serve their country, work, attend school, or participate in the Nation’s economic

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and cultural life.

The unconstitutional conditions doctrine and due process rights combine to
invalidate the DOD Mandate as applied to Plaintiffs with natural immunity. The
DOD has not and cannot shown that forcing Plaintiffs to take the vaccine reduces
any risk that they will become infected with and spread the virus to DOD personnel
or their communities. DOD and the Armed Services do not offer any justifications
for why the penalties and other restrictions it establishes are appropriate and tailored
to DOD service members who have acquired robust natural immunity. And the
rationales it does offer are not logically coherent. Plaintiffs’ natural immunity fully
serves the supposed purposes of the public-health protection that DOD claims that
it is pursuing.

3. DOD Mandate Violates Equal Protection Clause.

Finally, the DOD Mandate and related mandates violate the Equal Protection
Clause under the Fifth and Fourteenth Amendments of the United States
Constitution.’° At the same time that the Executive Branch and federal agencies

seek to require vaccination for nearly all U.S. citizens and lawful residents, the

 

'° The Supreme Court established in Bolling v. Sharpe, 347 U.S. 497, 498 (1954)
that the Equal Protection Clause of the Fourteenth Amendment is incorporated
against the federal government through the Fifth Amendment’s Due Process Clause.
See also Sessions v. Morales, 137 S. Ct. 1678, 1686 n.1 (2017) (the Supreme Court’s
“approach to Fifth Amendment equal protection claims has always been precisely
the same as to equal protection claims under the Fourteenth Amendment”).

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federal government has disclaimed any COVID-19 vaccination requirement for
illegal aliens—even if they are being released into the U.S., rather than being
immediately deported. Many refuse: reporting indicates that roughly 30% decline
the offer of vaccination."

By contrast, Plaintiffs, service members sworn to uphold the Constitution and
defend our borders, are treated less favorably than unauthorized aliens who flout our
laws and refuse vaccination. Unauthorized aliens will not be subject to any
vaccination requirements, even when released directly into the United States, while
at least 100 million U.S. citizens will be subject to unprecedented vaccination
mandates as a conditions for serving in the military, working in the public or private
sectors, or going to school

This discrimination in favor of unauthorized aliens violates the Equal
Protection Clause. Notably, alienage is a suspect class that triggers strict scrutiny.
See, e.g., Graham vy. Richardson, 403 U.S. 365, 371, 375-376 (1971). While the
discrimination in question was against aliens, the same principle applies to

discrimination against U.S. citizens, or lawful residents, in favor of aliens. Even if

only rational basis review applied, the government’s discrimination is

 

'6 Michael Lee, Biden’s Vaccination Mandate Doesn't Include Illegal Immigrants,
Fox NEws (September 9, 2021), https://www.foxnews.com/politics/biden-plan-for-
forced-vaccinations-doesnt-include-illegal-immigrants (accessed September 22,
2021).

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unconstitutional, because there can be no “rational basis” for the government’s
commitment to vaccinating every U.S. citizen or legal resident, while at the same
time systematically refusing to do the same for millions of aliens illegally flooding
over our borders.

The DOD Mandate also violates equal protection insofar as it singles out, and
discriminates against, Plaintiffs based on their medical history, disabilities and/or
medical conditions. There is no rational basis for such differential treatment that
reduces patriotic service members to the status of second-class citizens in the nation
they are sworn to defend and have served loyally.

4. Major Questions Doctrine & Separation of Powers Issues

The DOD Mandate, the Armed Services implementation thereof, and the FDA
Comimaty Approval cannot be considered in isolation. Instead, they must be viewed
as part of a larger effort by the Executive Branch to use administrative agencies to
bypass Congress and constitutional limits on Executive and Federal authority, such
as the CDC eviction moratorium struck down twice by the Supreme Court and the
proposed OSHA and other mandates that would affect nearly 100 million workers,
which like the DOD Mandate, would also be based on the FDA’s Comirnaty
approval.

Where, as in the case of the CDC eviction moratorium struck down last month

and the proposed OSHA Mandate, “an agency claims to discover in a long-extant

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statute an unheralded power to regulate a significant portion of the economy,” courts
must “greet its announcement with a measure of skepticism.”!” Congress must
“speak clearly when authorizing an agency to exercise vast powers of economic and
political significance.” Alabama Realtors, 2021 WL 3783142, at *3. Even stricter
judicial scrutiny is required where the federal administrative actions “significantly
alter the balance between federal and state power and the power of the Government.”
U.S. Forest Service v. Cowpasture River Preservation Assn., 140 S. Ct. 1837, 1849,
207 L.Ed.2d 186 (2020). Because the federal overreach is so unprecedented—
requiring nearly every U.S. citizen or lawful resident to be vaccinated as a condition
to work or attend school, and if current proposals are enacted, to cross state
borders—there is no precedent to cite, other than the fundamental rights set forth in
the U.S. Constitution to substantive and procedural due process.

Congress has enacted numerous laws in response to COVID-19!® that

dramatically expanded agencies’ authority, and appropriated $4.7 trillion,'? to

 

"7 Ala. Assoc. of Realtors v. U.S. Dep’t Health and Human Servs., --- F.Supp.3d ---,
2021 WL 1779282, *8 (D.D.C. May 5, 2021), aff'd, 2021 WL 2221646 (D.C. Cir.
June 2, 2021), aff'd, 2021 WL 3783142 (U.S. Aug. 26, 2021) (“Alabama Realtors’).

8 See, e.g., Coronavirus Aid, Relief, and Economic Security Act (CARES Act), Pub.
L. No. 116-136, 134 Stat. 281 (2020) ($2 trillion); Consolidated Appropriations Act,
2021 Pub. L. 116-260, 134 Stat. 2078-2079 (2020) ($900 billion); American Rescue
Plan Act of 2021, Pub. L. No. 117-2 ($1.9 trillion).

9 See U.S. Government Accountability Office, Coronavirus Oversight: Overview,
available at: https://www.gao.gov/coronavirus (last visited Sept. 15, 2021).

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combat the disease, improve healthcare, provide emergency assistance, and promote
economic recovery. Congress has not, however, enacted a vaccine mandate or
granted any agency the authority to enact a mandate, nor is there any indication that
it intends to do so. This Court must therefore reject the efforts of Defendants, and
the Executive Branch, to bypass Congress, the States, and the Constitution, to enact
by administrative fiat a vaccine mandate.

E. ‘Plaintiff Will Suffer Irreparable Harm Absent a Preliminary
Injunction and/or Temporary Restraining Order

To satisfy the irreparable harm requirement, Plaintiffs must demonstrate that
absent a preliminary injunction, they are “likely to suffer irreparable harm before a
decision on the merits can be rendered.” Winter v. NRDC, 555 U.S. 7, 22 (2008)
(citation omitted). Mere economic harm that can be remedied by money damages
“or other corrective relief ... at a later date” is not sufficient. Brown v. HHS, 4
F.4th 1220, 1226 (11th Cir. 2021) (citations and quotations omitted).

The deprivation of certain constitutional rights, however, “for even minimal
periods of time, unquestionably constitutes irreparable injury.” Elrod v. Burns, 427
U.S. 347, 373 (1976). In the Eleventh Circuit, alleged violations of the right to
bodily integrity at issue here presumptively cause irreparable injury. See Brown, 4
F.4th 1220 at 1225 (citing Siegel, 234 F.3d at 1178). The denial of a stay or an

injunction—and permitting the involuntary administration of the vaccine—is an

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injury that cannot be undone and will permanently prevent Plaintiffs from
exercising their right to refuse unwanted, unnecessary, and unproven experimental
medical treatments. “[R]equiring a person to submit to an inoculation without
informed consent or the presidential waiver is an irreparable harm for which there
is no monetary relief.” Rumsfeld I, 297 F.Supp.2d at 135.

Because the DOD and the Armed Services have threatened disciplinary
action for non-compliance, Plaintiffs also request that the Court issue a TRO
against disciplinary actions for vaccine refusal to preserve the status quo, as
otherwise they will suffer immediate and irreparable injury, including but not
limited to the loss of constitutional rights and bodily autonomy. See Fed. R. Civ. P.
65(b)(1)(A) and supra, Attach. 1, Proposed Order.

Further, Plaintiffs are faced with a choice between two irreparable harms: (1)
accept unnecessary medical treatment (i.e., vaccination) that may irreparably and
irreversibly harm their health or (2) refuse to do so and likely sacrifice their current
and future employment, benefits, reputation, freedom and other enumerated
constitutional rights. Both options constitute violations of Plaintiffs constitutional
rights. See, e.g., Jessen v. Village of Lyndon Station, 519 F. Supp, 1183, 1189 (W.D.
Wis. 1981) (finding irreparable injury where plaintiff stood to lose a property right

without due process).

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F. The Balance of Equities (including the Public Interest) Weighs
Heavily in Plaintiff’s Favor.

A preliminary injunction is proper when “the balance of equities tips in [its]
favor, and that an injunction is in the public interest.” Winter, 555 U.S. at 20. “These
factors merge when the Government is the opposing party.” Nken, 556 U.S. at 435.
“TT]here is a strong public interest in requiring that the plaintiffs’ constitutional
rights no longer be violated[.]” Laube v. Haley, 234 F. Supp.2d 1227, 1252 (M.D.
Ala. 2002). That is true even though COVID-19 is involved. Cf Cuomo, 141 S. Ct.
at 68 (“[E]ven in a pandemic, the Constitution cannot be put away and forgotten.’’).

There is also a strong public interest in ensuring the rights of informed
consent, and that citizens are not subject to unwanted, unnecessary and unproven
experimental medical treatment. Informed consent fosters trust and support in the
doctor-patient relationship. It is also in the public interest for those seeking
vaccines to receive accurate, truthful, complete information, and that they give
informed consent—or refusal—to experimental vaccines. Conversely, the DOD
and the Air Force have no legitimate interest whatsoever in forcing Plaintiffs to
receive an experimental vaccine before this Court has the opportunity to address
the merits of Plaintiffs’ claims.

The public interest is also served by granting a stay or injunction for the DOD

Mandate and any implementation thereof by the Armed Services because it will

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allow this Court the time to determine whether federal administrative agencies have
the legal authority to impose vaccine mandates and to deprive citizens of their

freedom, livelihoods, and fundamental rights for non-compliance.

I. CONCLUSION

For the reasons set out above, the Court should enter a declaratory
judgment, stay, TRO and/or a preliminary injunction against the DOD Vaccine
Mandate, the Armed Services’ implementation thereof to Plaintiffs, and the FDA

Comirnaty Approval. A form of order is attached as an exhibit to the Motion.

Respectfully submitted,
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CERTIFICATE OF COMPLIANCE
I hereby certify that this submission contains 6,520 words according to

Microsoft Word’s word count function, and as such is in compliance with L.R.

T.A(E).

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CERTIFICATE OF SERVICE

This is to certify that I have on this day e-filed the foregoing Plaintiffs’ Motion

for Declaratory Judgment, Stay, Temporary Restraining Order and Permanent

Injunctive Relief and Memorandum in Support Thereof using the CM/ECF system,

and that I have delivered the filing to the Defendants by email and FedEx at the

following addresses:

This 8" day of October, 2021.

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